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     Attorney for Defendant
6    Kioni Dogan
7

8                             IN THE UNITED STATES DISTRICT COURT

9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,          )                 2:16-CR-0199-GEB
12                                      )
                             Plaintiff, )
13                                      )                 STIPULATION FOR MODIFICATION
     v.                                 )                 OF PRETRIAL RELEASE CONDITION
14
                                        )                 RE: CONTACT; ORDER
15                                      )
     Kioni Dogan,                       )                 Judge: Hon. Kendal J. Newman
16                                      )
17
                             Defendant. )
     __________________________________ )
18
                                              STIPULATION
19
            Plaintiff, United States of America, by and through its counsel, Assistant United States
20

21   Attorney Christopher S. Hales, and defendant, Kioni Dogan, by and through her attorney of

22   record, Hayes H. Gable, III, agree and stipulate that the defendant’s special conditions of release
23
     (ECF No. 28) be modified as follows:
24
            “6. You must not associate or have any contact with your co-defendants unless in the
25

26   presence of counsel, with the exception of your mother, Gloria Harris, and your sister Lavonda

27   Bailey. You must not discuss the case with them, unless in the presence of counsel.”
28             STIPULATION FOR MODIFICATION OF PRETRIAL RELEASE CONDITION RE: CONTACT;

                                                  ORDER- 1
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1           Pretrial Services Officer Darryl Walker approves of the above-stated request.
2
            Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
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4
     Dated: November 7, 2018                              Respectfully submitted,
5

6
                                                          /s/ Christopher S. Hales
7                                                         CHRISTOPHER S. HALES
                                                          Assistant U.S. Attorney
8

9
                                                          /s/ Hayes H. Gable, III
10                                                        HAYES H. GABLE, III
                                                          Attorney for Defendant
11
                                                          KIONI DOGAN
12

13                                                ORDER
14

15          Based upon the foregoing stipulation of the parties and with the agreement of the pretrial

16   services officer, and good cause appearing, the Court grants the defendant’s request that the
17
     terms of the special conditions of release be modified as set forth above. All other conditions of
18
     release are to remain in full force.
19

20   Dated: November 7, 2018

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28              STIPULATION FOR MODIFICATION OF PRETRIAL RELEASE CONDITION RE: CONTACT;

                                                  ORDER- 2
